O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                              Case No:     DNCW 109CR000026-007
                      MARK TAYLOR LEW IS                                    )
                                                                              USM No:      22476-058
                                                                            )
Date of Original Judgment:     July 8, 2010
                                                                            )
Date of Last Amended Judgment: N/A                                            Fed Defender
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 108 months is reduced to 96 months

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    32                Amended Offense Level:     28
Criminal History Category: II                Criminal History Category: II
Original Guideline Range:  135 to 168 months Amended Guideline Range: 120 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to
release from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to
the local Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of
the U.S. Probation Officer.
Except as provided above, all provisions of the judgment dated                      July 8, 2010,        shall remain in effect.
IT IS SO ORDERED .

Order Date:          August 10, 2012


Effective Date:
                       (if different from order date)


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